             Case 2:12-cr-00169-TLN Document 516 Filed 02/11/16 Page 1 of 3

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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         CASE NO. 2:12-CR-0169 MCE

12                               Plaintiff,            GOVERNMENT’S MOTION FOR REDUCTION
                                                       OF SENTENCE PURSUANT TO FED. R. CRIM. P.
13                         v.                          35 AND ORDER GRANTING MOTION FOR
                                                       REDUCTION
14   LAWRENCE KENNEDY NELSON,

15                               Defendant.

16
17          The United States, by and through its attorney of record Assistant United States Attorney Jason

18 Hitt, submits this motion seeking a reduction in the overall sentence of defendant Lawrence Kennedy
19 NELSON (“defendant”) based upon substantial assistance that he provided subsequent to his sentencing
20 by this Court.
21                                             BACKGROUND

22          On March 26, 2015, this Court sentenced the defendant to 84 months in prison. After

23 sentencing, this Court presided over the trial of Isreal WASHINGTON in United States v. Washington,
24 Case No. 2:13-CR-0206 MCE. At the defendant’s sentencing, the Court granted a partial government
25 motion pursuant to U.S.S.G. § 5K1.1. After defendant’s sentencing, on July 1, 2015, the defendant
26 provided important trial testimony against Isreal WASHINGTON. As the Court knows well, trial
27 evidence demonstrated that WASHINGTON was a large-scale drug trafficker operating in Sacramento
28 for many years. The defendant was nervous to be cooperating against WASHINGTON but overcame

      GOVERNMENT’S MOTION PURSUANT TO                   1
      FED. R. CRIM. P. 35
              Case 2:12-cr-00169-TLN Document 516 Filed 02/11/16 Page 2 of 3

 1 his fear of retaliation to provide truthful, candid testimony about a cocaine deal with WASHINGTON.
 2 Ultimately, the jury returned guilty verdicts against WASHINGTON based, in part, on the defendant’s
 3 trial testimony. In sum, the defendant’s testimony was candid and truthful and played a significant role
 4 in the government’s successful prosecution of the WASHINGTON case.
 5          Because the defendant has completed his cooperation, the government now moves that his

 6 sentence of 84 months be reduced to time served pursuant to Rule 35(b).
 7          On February 2, 2016, I spoke with the defendant’s retained counsel, V. Roy Lefcourt, Esq., and

 8 explained that the United States intended to make a Rule 35 motion on behalf of his client. Mr. Lefcourt
 9 indicated that he and his client waive any need to appear in Court in connection with this motion.

10                                                AUTHORITY

11          Pursuant to Rule 35 “[t]he court, on motion of the government made within one year after the

12 imposition of the sentence, may reduce a sentence to reflect a defendant’s subsequent, substantial
13 assistance in the investigation or prosecution of another person . . . .” Fed. R. Crim. P. 35(b). Based
14 upon the defendant’s testimony during the WASHINGTON trial after his sentencing, the United
15 States now moves for the defendant’s sentence of 84 months in prison be reduced to a sentence of time
16 served months in prison. If this motion is granted, the United States respectfully requests that the Court
17 issue a release order for the defendant and an amended judgment reflecting the new sentence.
18
19                                                           BENJAMIN B. WAGNER
                                                             United States Attorney
20
21 Dated: February 2, 2016                           By: /s/ JASON HITT
                                                         JASON HITT
22                                                       Assistant United States Attorney
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       GOVERNMENT’S MOTION PURSUANT TO                   2
       FED. R. CRIM. P. 35
             Case 2:12-cr-00169-TLN Document 516 Filed 02/11/16 Page 3 of 3

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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                      CASE NO. 2:12-CR-0169 MCE
11
                                Plaintiff,          ORDER GRANTING GOVERNMENT’S MOTION
12                                                  FOR REDUCTION PURSUANT TO FEDERAL
                          v.                        RULE 35 OF FEDERAL RULES OF CRIMINAL
13                                                  PROCEDURE
     LAWRENCE KENNEDY NELSON,
14
                                Defendant.
15
16
                  Upon motion by the United States of America and good cause having been shown, IT IS
17
     HEREBY ORDERED that:
18
                  1.     The sentence of imprisonment for defendant Lawrence Kennedy NELSON in
19                       Case No. 2:12-CR-0169 MCE is hereby REDUCED to time served pursuant to
                         Rule 35(b) of the Federal Rules of Criminal Procedure based upon the
20                       government’s motion; and
21                2.     The defendant’s presence for resentencing on this matter is WAIVED based upon
                         his counsel’s representation to the government’s attorney.
22
          IT IS SO ORDERED.
23
     Dated: February 10, 2016
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